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                                In the United States District Court
                                    Southern District of Texas
                                         Houston Division

James Amick,
           Plaintiff,

                                                        Civil Action No.
Seacret Spa, LLC,
Seacret Spa Retail, LLC
Dani Solomon,and
Maya Naggar                                             Jury Demanded
           Defendants


          Defendants,Seacret Spa,LLC,Dani Solomon,and Maya Naggar's
                               Notice ofRemoval

To the Honorable United States Court District.Judge:
           Defendant, Dani Solomon, through the assistance of the undersigned

counsel of record, files this Notice of Removal. In support thereof, Defendant

respectfully shows the Honorable Court as follows:

                                          I.       Introduction

           i.      Plaintiff filed his state court action against Defendants, Seacret Spa,

LLC, Seacret Spa Retail, LLC, Dani Solomon, and Maya Naggar, in Brazos

County, Texas, on April 28, 2015.1 The case was docketed as Cause No. 15-

ooio42-CV-CCLi, James Amick v. Seacret Spa,.LLC, Seacret Spa Retail, LLC,




1   See Plaintiffs Original Petition, a copy of which is attached as Exhibit C-i.
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Dani Solomon, and Maya Naggar, in the County Court at Law No. 1, Brazos

County,Texas.

            2.   On or about April 30, 2015, Plaintiff filed his First Amended

Petition.2

        3.       Plaintiff made a jury demand in his both his Original and First

Amended Petition.

        4.       Defendant Dani Solomon was served with Plaintiffs First Amended

Petition on May 26, 205,3

        5.       On June 1g, 2015, Defendants Seacret Spa LLC, Dani Solomon, and

Maya Naggar filed a Motion to Transfer Venue, and subject to that motion, their

Original Answer.

        6.       Plaintiffs claims against Defendants include negligence and

negligent entrustment.

        ~.       These claims arise out of a motor vehicle accident on or about April

2g, 2013, in which Plaintiff alleges he was traveling westbound on lgtn Street in

Lubbock, Texas, in the far right lane. Plaintiff alleges that Defendant Naggar was

traveling in the lane next to Plaintiff, and attempted to make aright-hand turn

from her lane directly in front of Plaintiff, causing the motor vehicle accident.

        8.       Plaintiffs Petition seeks reasonable and necessary past and future

medical expenses; past and future physical pain and suffering; past and future

2 See Ex. C-2.

3 See id.




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mental anguish; past and future physical impairment; property damages,

consequential damages; costs of suit; and prejudgment and postjudgment

interest.4

        g.      Defendant's Notice of Removal is timely as it was filed within 30

days of when Defendant Solomon was served.

        10.    Additionally, Defendant's Notice of Removal is timely as it is filed

within 3o days of when it was first ascertainable that the case could be removed

based upon diversity jurisdiction.           See 28 U.S.C. § i446(b)(3); Braud v.

Transport Service Co. ofIllinois, 445 F.3d 801,805(5th Cir. 2006); Chambers u.

Bielss, No. 3:o8-CV-372-KC, 2008 WL 5683483 ~4 W.D. Tex. 2008) (not

designated for publication).

        11.    The one-year deadline on removal for diversity cases under 28

U.S.C. § i446(c) has not elapsed.

                                    II.     The Parties

        12.    Plaintiff James Amick is an individual who resides in Tarrant

County,Texas.

        i3.    Defendant Seacret Spa, LLC,is a foreign corporation organized and

existing under the laws of the state of Arizona. Its principal place of business is

located at 2619 E. Chambers Street, Phoenix, Arizona, 85040.              Plaintiff

acknowledged that Defendant Seacret Spa, LLC, was organized and based in the



4 See Exhibits C-i and C-2(Plaintiffs First Amended Petition).




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state of State of Arizona in both his Original and First Amended Petitions.

Therefore, Defendant Seacret Spa, LLC,is a citizen ofthe state of Arizona.

        14.   Defendant Seacret Spa Retail, LLC, is a foreign corporation

organized and existing under the laws of the state of Arizona. Its principal place

of business is located at 2618 E. Chambers Street, Phoenix, Arizona, 85040.

Plaintiff acknowledged that Defendant Seacret Spa Retail, LLC, was organized

and based in the state of State of Arizona in both his Original and First Amended

Petitions. Therefore, Defendant Seacret Spa Retail, LLC, is a citizen of the state

of Arizona. At this time, Defendant Seacret Spa Retail, LLC, has not

been served nor has it made an appearance in this matter.

       15.    Defendant Dani Solomon was served at 26ig E. Chambers Street,

Phoenix, Arizona, 85040. Plaintiff acknowledges that Mr. Solomon is a "non-

resident of Texas" in Plaintiffs First Amended Petition. Therefore, Defendant

Dani Solomon,is a citizen ofthe state of Arizona.

       16.    Defendant Maya Naggar is a citizen of Israel.                Plaintiff

acknowledges that fact in his First Amended Petition. Therefore, Defendant Dani

Solomon,is a citizen of Israel.

                            III.   Basis for Removal

A.     Removal Standard

       1~.    District courts of the United States are conferred original

jurisdiction over any civil matter between citizens of different states involving an

amount in controversy that exceeds $75,000, exclusive of interest and costs,

pursuant to 28 U.S.C. § 1332(a). Any civil action brought in a state court of which



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the district courts of the United States have original jurisdiction maybe removed

by the defendant to a district court of the United States for the district and

division where the state action is pending. See 28 U.S.C.§ i441(a).

         18.   For purposes of assessing diversity of citizenship, a corporate entity

is deemed to be a citizen of both the state in which it is incorporated as well as the

state where it maintains its principal place of business. See 28 U.S.C. §

i332(c)(i); Mullins v. Test America, Inc., 564 F.3d 386, 397 n.6 (5th Cir. 2oog).

With regard to determining whether diversity jurisdiction is present, citizenship

is determined at the time the state court suit was filed. See Smith v. Sperling,

354 U•S• 91~ 93 ~1957)~ Harris v. Black Clawson Co., 961 F.2d 547 549 5th Cir.

1992).

         ig.   Diversity jurisdiction depends upon a showing of complete

diversity, which means that no plaintiff may be a citizen of the same state as one

of the defendants. See Whalen v. Carter, 954 F.2d io8~, 1974 5th Cir. i992)~

Mas v. Perry,48g F.2d i396~ 1398-1399 5th Cir. 1974); Nelson v. St.Paul Fire &

Marine Ins. Co.,897 F. Supp. 328,330(S.D. Tex. 1995)•

         20.   For suits involving multiple defendants, 28 U.S.C. § i446(b), the

removal statute, has been interpreted to require that all defendants who have

been served timely join in the notice of removal by either signing the notice or by

ding a written consent before the .expiration of the 3o-day deadline for filing.

Moreno Energy,Inc. v. Marathon Oil Co., No. H-ii-4518, 2oi3 WL 2295423 ~5

(S.D. Tex. May 22, 2013).




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B.      Removal ofthe State Court Action to Federal Court is Appropriate

        21.     Plaintiff is a citizen of Texas; Defendants Seacret Spa, LLC, Seacret

Spa Retail, LLC, and Dani Solomon are citizens of Arizona. Defendant Maya

Naggar is a citizen of Israel. As a result, there is complete diversity among the

parties and removal is appropriate on the basis of diversity jurisdiction.

        22.     Removal is additionally appropriate under diversity jurisdiction, as

the amount in controversy, exclusive of interest and costs, exceeds $75,000.

        23.     While Plaintiffs Original and First Amended Petitions do not specify the

exact amount of damages he is seeking, Plaintiff does acknowledge that he is seeking

"only monetary relief of $ioo,000.00 or less, including damages of any kind, penalties,

court costs, expenses, prejudgment interest, and attorney fees." This is a personal injury

case in which Plaintiff seeks damages for Defendants' alleged negligence. Both Plaintiff's

Original Petition and his First Amended Original Petition assert that discovery is to be

conducted under Leve13.5

        24.     Plaintiff seeks damages for past and future medical expenses, past and

future physical pain and suffering, past and future mental anguish, past and

future physical impairment, and past and future lost wages.6 Given the nature of
the claims against Defendants, the alleged damages in this action appear to clearly

exceed $75,000,exclusive ofinterest and costs.

        25.     If a suit is removable when it is filed, the defendant must file the

notice of removal within 3o days after receiving both the summons and a copy of
5 See Exhibits C-i and C-2.
6 Id.




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the complaint, Murphy Bros. v. Mtchetti Pfpe Stringing, Inc., 526 U.S. 344 354

X1999)•

        26.     Defendants' Notice of Removal has been filed in a timely manner.

This Notice of Removal is filed no more than 3o days after Defendant Dani

Solomon was served with the complaint on May z6, 2oi5.

        2~.     Additionally, Plaintiff's First Amended Original Petition seeks

damages of up to $~oo,000.00.~ When a plaintiffs monetary demand is stated in

the complaint, a defendant can rely on that allegation to meet the federal court's

jurisdictional requirement. See S.W.S. Erectors, Inc. v. Influx, Inc., ~2 F.3d 489

492 5th Cir.1996).

        28.     A case may be removed within 3o days after receipt by the

defendant of a pleading, motion, or other paper from which it maybe ascertained

that the case is removable. See 28 U.S.C. § 1446(b)(3); Braud v. Transport

Service Co. ofIllinois, 445 F•3d 801,805(5th Cir. 2006); Chambers v. Bielss, No.

3:o8-CV-372-KC, 2008 WL 5683483 ~4 W.D. Tex. 2008)(not designated for

publication). However, removal in a diversity matter must be initiated within a

maximum period of one year from the date the state court action was

commenced. See 28 U.S.C. § 1446(c)(i); Tedford u. Warner-Lambert Co., 32~

F•3d 423 425-426(5th Cir. 2003).

        2g.     Defendants' Notice of Removal has been filed in a timely manner.

This Notice of Removal is filed no more than 3o days after Defendant Dani

~ See Exhibit C-z.




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Solomon was served with the First Amended Petition. Furthermore, less than

one year has elapsed since the state court action was originally filed.

                          IV.     Jurisdiction and Venue
       30.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. §

1332 as there is complete diversity of citizenship and the amount in controversy

exceeds $75,000, exclusive ofinterest and costs.

       31.    Venue is appropriate in the Southern District of Texas, Division of

Houston under 28 U.S.C. § i441(a) because this district and division encompass

Brazos County where the state court action is pending.

                       V.       FRCP Rule 38 Jury Demand

       32.    A jury trial is demanded on all issues presented in this case.

                            VI.   Required Documents

       33•    Pursuant to 28 U.S.C. ~446(a) and Rule 81 of the Local Rules of the

Southern District of Texas, Defendant attaches hereto copies of all pleadings,

process, orders, and other filings in the state court action as well as the state

court action's docket sheet.

      34•     Pursuant to Rule 81(6)of the Local Rules ofthe Southern District of

Texas, Defendants attach hereto a List of All Counsel of Record (Exhibit E).

                               VII. Required Notice

      35•    Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly provide

notice to all adverse parties and will file a copy of this Notice of Removal with the

Harris County District Clerk's Office.




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                     VIII. Conclusion and Prayer for Relief

       WHEREFORE,PREMISES CONSIDERED, Defendants, Seacret Spa LLC,

Dani Solomon, and Maya Naggar, respectfully request that the Honorable Court

remove this action to the United States District Court for the Southern District of

Texas. Defendants additionally pray for such further relief, at either law or

equity,to which it may prove itself to be justly entitled.



                                           Respectfully submitted,

                                           BROWN SIMS


                                         /Michael D. Williams
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                                          Attorneyfor Defendants,Seacret Spa
                                          LLC,Dani Solomon,and Maya Naggar


OF COUNSEL:

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Federal ID No. 1~~9595




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                                       'Certificate ofService

This is to certify that a true and correct copy ofthe foregoing instrument has been
forwarded to all attorneys of record in accordance with the Federal Rules of Civil
Procedure as well as the Southern District of Texas' Local Rules via electronic
filing. as well as facsimile and certified mail, return receipt requested on this the
22nd day of June, 2oi5.

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      Attorney
                     for
                           Plaintcff
                                                             /s/Michael D. Williams
                                                              Michael D. Williams




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